        2:16-cv-13752-RHC-APP           Doc # 1      Filed 10/21/16   Pg 1 of 18   Pg ID 1
                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

Harold D. Robinson, Registered Nurse
       Plaintiff
                                                               Case No.: _______________________
v.
                                                               Honorable _______________________
University of Detroit Mercy, Christine M. Pacini,
Michael P. Dosch, Andrea Teitel, Gregory
Bozimowski and Petra D. Hurt, Jointly and severally,
       Defendants.
____________________________________________/
SIMMONS LEGAL SERVICES, PLLC
By: Shawndrica N. Simmons (P70608)
Attorneys for Plaintiff
77 Bagley St.
Pontiac MI 48341
(248) 732-7559
____________________________________________/

             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                        AND DEMAND FOR JURY TRIAL
        Now comes Plaintiff, by and through his attorneys, Simmons Legal Services, and for his

Complaint against the University of Detroit Mercy, Christine M. Pacini, Michael P. Dosch,

Andrea Teitel, Greg Bozimowski and Petra D. Hurt states as follows:


                                      NATURE OF CLAIMS

1. This is an action for deprivation of Plaintiff’s rights under the Fourteenth Amendment to the

     United States Constitution; for deprivation of Plaintiff’s rights to freedom of speech, due

     process, and equal protection under the Michigan Constitution; and the common law theories

     of interference with an advantageous business relationship or expectancy, intentional

     infliction of emotional distress and unjust enrichment.


                                    JURISDICTION AND VENUE

2. Federal question jurisdiction is conferred by 28 USC §§ 1331, 1343(a)(1), and 1343(a)(2)

     over Plaintiffs’ Constitutional claims.

                                               Page 1 of 18
      2:16-cv-13752-RHC-APP          Doc # 1    Filed 10/21/16     Pg 2 of 18    Pg ID 2
                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

3. Venue is proper pursuant to 28 USC §1391, since all Defendants reside or are located in the

   Eastern District of Michigan and the events giving rise to this action occurred wholly or in

   part, in Wayne County, which is within the Eastern District of Michigan.


                                            PARTIES

4. Plaintiff Harold Robinson (“Robinson”) is a Registered Nurse and a resident of the State of

   Michigan and resides within the Eastern District of Michigan.

5. Defendant University of Detroit Mercy (“UDM”) is a Michigan private, non-profit

   coeducational corporation operating within Wayne County, within the Eastern District of

   Michigan.

6. Christine M. Pacini (“Pacini”) is a Registered Nurse, Doctor of Philosophy (“PhD”), and an

   individual residing within the Eastern District of Michigan, whom at all relevant times served

   as Dean of the College of Health Professions & McAuley School of Nursing at UDM.

7. Defendant Michael P. Dosch (“Dosch”) is a Certified Registered Nurse Anesthesiologist

   (“CRNA”), (Master of Science (“MS”) and PhD); and an individual residing within the

   Eastern District of Michigan, whom at all relevant times served as Associate Professor and

   Chair of the Nurse Anesthesia Program at UDM.

8. Defendant Andrea Teitel (“Teitel”) is a CRNA, MS; and an individual residing within the

   Eastern District of Michigan, whom at all relevant times was an Assistant Director who

   served as a clinical director for students in UDM’s Graduate Program of Nurse

   Anesthesiology (GPNA).




                                          Page 2 of 18
      2:16-cv-13752-RHC-APP            Doc # 1    Filed 10/21/16   Pg 3 of 18    Pg ID 3
                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

9. Defendant Gregory Bozimowski (“Bozimowski”) is a CRNA, (Doctor of Practice (DNP);

   and an individual residing within the Eastern District of Michigan, whom at all relevant times

   served as an Assistant Professor and clinical director for students in UDM’s GPNA.

10. Defendant Petra D. Hurt (“Hurt”) is a CRNA, MS; and an individual residing within the

   Eastern District of Michigan, whom at all relevant times was an Assistant Program Director

   for students in UDM’s GPNA           and Affiliate Clinical Coordinator at St. Joseph Mercy

   Oakland-Ambulatory Surgical Center (“ASC”).

                                       BACKGROUND FACTS

11. In February of 2012, Plaintiff Robinson was accepted into UDM’s GPNA class that

   commenced in the Fall of 2012 and would graduate its students in December of 2014 (“2014

   Graduating Class”).

12. The 2014 Graduating Class was comprised of a total of 21 students: 16 women and 5 men.

   Plaintiff Robinson was the only African-American male student in the 2014 Graduating

   Class.

13. Defendant UDM’s GPNA is a two year, full-time program.

14. Defendant UDM’s GPNA falls under the College of Health Professions, of which Pacini was

   and is the Dean.

15. As dean, it was Pacini’s job to lead and guide the school’s staff and students toward

   achieving established objectives.

16. Students in Defendant UDM’s GPNA are required to successfully complete clinical

   internships in order to obtain their graduate degrees.




                                           Page 3 of 18
      2:16-cv-13752-RHC-APP            Doc # 1    Filed 10/21/16   Pg 4 of 18     Pg ID 4
                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

17. Defendants UDM, Dosch, Teitel and Bozimowski coordinate and oversee these internships,

   and works in conjunction with the field education/field placement sites to provide students

   avenues for meaningful practice experiences.

18. Students of UDM’s GPNA are evaluated on their performance during these internships;

   copies of their evaluations are provide to students for their review and maintained in the

   students’ files.

19. Most of the evaluations of Plaintiff Robinson’s clinical internships were exceptional, and

   included such comments as “Great A-line insertion; great job in maintenance of whipple

   patient;” “Excellent care plan, anticipated and planned very well;” “Managed all cases well,

   hard worker…welcome back for more;” “Successful with difficult intubation…appropriately

   worked in dilaudid which made for smooth emergence and extubation…”

20. As is typical with any student in a learning program, a few of Plaintiff Robinson’s

   evaluations during his clinical internships were not favorable, including evaluations received

   from Defendant Hurt and Defendant Teitel.

21. On or around January 31, 2013, during one of Plaintiff’s clinical externships, Plaintiff

   received an emergency call that Plaintiff’s father, who was hospitalized after having two

   strokes, was attempting to leave the hospital at which he had been admitted, against his

   physicians’ orders.

22. Plaintiff’s CRNA preceptor during the time that he received the call, Theresa Delpup

   dismissed Plaintiff for the day so that he could assist with handling the family emergency.

23. Although Ms. Delpup has dismissed Plaintiff for the day, Defendant Hurt reported in

   Robinson’s evaluation that Plaintiff had left his clinical area without permission. Defendant

   Hurt’s representation was untrue.

                                           Page 4 of 18
      2:16-cv-13752-RHC-APP           Doc # 1     Filed 10/21/16      Pg 5 of 18   Pg ID 5
                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

24. On or around April 15, 2014, Defendant Teitel gave Plaintiff Robinson a “does not meet”

   evaluation due to Plaintiff’s delay in spiking an IV for a child patient.

25. Plaintiff advised Defendant Teitel that the reasonable delay was due to his following the

   standard procedure of first determining whether the child had an existing IV before spiking a

   new bag; Plaintiff further explained that since the physician had not yet arrived in the child’s

   room, there was time to make this determination.

26. Defendant Teitel responded to Plaintiff that his explanation didn’t matter because she was

   “picky.”

27. Some time during May of 2014, Defendant Dosch was contacted by Emily McNeil

   (“McNeil”) concerning certain alleged occurrences during Plaintiff’s clinical exercises at

   Mott Hospital.

28. When Plaintiff learned of McNeil’s contact with Defendant Dosch, Plaintiff e-mailed

   Defendant Dosch to offer an accurate accounting of the circumstances.

29. Defendant Bozimowski was copied on the e-mail to Defendant Dosch, and although it was

   certainly Plaintiff’s right, and arguably, his obligation, to give Defendant Dosch a true

   recounting of the facts, Defendant Bozimowski lambasted Plaintiff for sending the e-mail.

30. Soon thereafter Defendant Bozimowski papered Plaintiff’s file with performance counseling

   narratives that Plaintiff never saw, thereby depriving Plaintiff of the opportunity to defend

   himself.

31. Not long after Defendant Bozimowski met Plaintiff’s wife, who is Caucasian, Bozimowski, a

   Caucasian male, began behaving differently toward Plaintiff, including yelling insults at him

   in front of the 2014 Graduating Class to the degree that one of the staff members had to

   interrupt Defendant Bozimowski’s tirade so that class could proceed.

                                            Page 5 of 18
       2:16-cv-13752-RHC-APP          Doc # 1     Filed 10/21/16   Pg 6 of 18    Pg ID 6
                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

32. On at least one occasion, Defendant Bozimowski remarked to the 2014 Graduating Class that

   a procedure he’d asked Plaintiff to perform “was so easy, even a monkey could do it.”

33. Defendant Bozimowski did not yell at any of Plaintiff’s classmates, and did not make

   “monkey” remarks about or toward any of them.

34. On September 22, 2014, just a little over two months before Plaintiff Robinson was to

   graduate from the UDM GPNA, Plaintiff Robinson was dismissed from the GPNA.

35. The persons who comprised Plaintiff’s dismissal committee we: (a) Defendant Dosch, whom

   Plaintiff had already contacted regarding a negative interaction with McNeil; (b) Defendant

   Hurt, who’d given Plaintiff a negative evaluation containing blatant untruths; (c) Defendant

   Bozimowski, who had publicly insulted, humiliated and discriminated against Plaintiff, and

   who had unfairly and capriciously papered Plaintiff’s file with narratives that Plaintiff had

   not seen and could not therefore refute; and (d) Defendant Andrea Teitel , who also had

   given Plaintiff a negative evaluation.

36. No one selected to be on Plaintiff’s dismissal committee viewed Plaintiff favorably, and none

   of the several dozen of instructors and professors who viewed Plaintiff favorably were

   selected to be on the dismissal committee.

37. Plaintiff Robinson appealed the dismissal but the Appeals Committee upheld the dismissal.

38. The Appeals Committee was comprised of: (a) Defendant Teitel, now chairperson of the

   Appeals Committee who had served on Plaintiff’s dismissal committee and had written an

   unfavorable evaluation of Plaintiff; (b) Pete Skellenger – a junior student also in the UDM

   GPNA who was supervised, and ultimately could be dismissed by Defendant Bozimowski

   and/or have unfavorable evaluations written against him by Defendant Teitel; and (c) Jackie

   DenDoven, another CRNA.

                                            Page 6 of 18
       2:16-cv-13752-RHC-APP           Doc # 1    Filed 10/21/16    Pg 7 of 18     Pg ID 7
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

39. The Appeals Committee upheld Plaintiff’s dismissal.

40. Although other students in the 2014 Graduating Class also had unfavorable evaluations, none

   of the other students were dismissed from the GPNA.

41. Because of the dismissal from Defendant UDM’s GPNA prior to completion of the program,

   no other graduate school for nurse anesthesiology will accept Plaintiff as a student.

                                    COUNT I:
                        FOURTEENTH AMENDMENT DUE PROCESS

42. Plaintiff incorporates by reference the allegations in Paragraphs 1 through 41 above.

43. Plaintiffs bring this claim pursuant to 42 U.S.C. §1983.

44. Acting under color of law, Defendants have engaged in conduct that violates Plaintiff’s rights

   under Amendment XIV of the U.S. Constitution.

45. Amendment XIV of the United States Constitution holds, in pertinent part: “nor shall any

   state deprive any person of life, liberty, or property without due process of Law.”

46. Plaintiff enjoys a constitutionally protected, fundamental right and interest in continuing his

   graduate school education.

47. Plaintiff enjoys a constitutionally protected property interest in continuing his graduate

   school education.

48. Plaintiff’s reputation and his opportunity to pursue future employment constitute a

   constitutionally protected liberty interest.

49. Defendants’ dismissal of Plaintiff from Defendant UDM’s GPNA was arbitrary and

   capricious and motivated by bad faith.




                                            Page 7 of 18
       2:16-cv-13752-RHC-APP            Doc # 1     Filed 10/21/16     Pg 8 of 18     Pg ID 8
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

50. Under the Due Process Clause, each person has a property interest in their employment, in

   the terms of employment negotiated pursuant to contract, and in rights granted under state

   law and these rights may not be taken away without due process of law.

51. Plaintiff was not afforded an unbiased, careful and deliberate review process either prior to

   his dismissal or during the appeal of his dismissal from Defendant UDM’s GPNA.

52. Defendants made false charges and accusations against Plaintiff which stigmatized him and

   severely damaged his opportunities for future employment.

53. In depriving Plaintiff of his constitutionally protected rights, including his fundamental right

   to and property interest in continuing his education in the GPNA, and his liberty interest in

   the opportunity to pursue future employment, Defendants’ actions abridge Plaintiff of his

   right to due process of law in violation of the Fourteenth Amendment to the United States

   Constitution.

54. At all times material to this, Plaintiff had a clearly established right to due process of law.

55. As a direct and proximate result, Plaintiff has suffered irreparable harm, injury and damages,

   including but not limited to, monetary damages, loss of his graduate school education and

   Master of Science degree, time, resources, loss of career opportunities, earning capacity,

   mental, emotional distress, anxiety, mental anguish, humiliation, embarrassment; and loss of

   personal and professional reputation.

                                  COUNT II:
                    FOURTEENTH AMENDMENT EQUAL PROTECTION

56. Plaintiff incorporates by reference the allegations in Paragraphs 1 through 55 above.

57. Plaintiffs bring this claim pursuant to 42 U.S.C. §1983.




                                             Page 8 of 18
       2:16-cv-13752-RHC-APP          Doc # 1    Filed 10/21/16     Pg 9 of 18     Pg ID 9
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

58. Acting under color of law, Defendants have engaged in conduct and adopted laws and

   policies that violated Plaintiffs’ rights under Amendment XIV, §1 of the U.S. Constitution.

59. Amendment XIV, § 1 states in pertinent part, “No state shall make or enforce any law which

   shall … deny to any person within its jurisdiction the equal protection of the laws."

60. Plaintiff has a right to fair and equal treatment under the law, as guaranteed by the Equal

   Protection Clause of the Fourteenth Amendment to the United States Constitution.

61. As an African-American, Plaintiff is a member of a protected class.

62. Defendants intentionally singled out and treated Plaintiff less favorably than other similarly

   situated persons, without any rational basis for that treatment. In so doing, Defendants

   deprived Plaintiff fair and equal treatment under the law in violation of the Equal Protection

   Clause of the Fourteenth Amendment to the United States Constitution.

63. Defendants Dosch, Teitel, Bozimowski, Hurt, and other agents, representatives and

   employees of Defendant UDM acting in concert with one another, acted out of vindictiveness

   and ill will toward Plaintiff.

64. The acts of Defendants Dosch, Teitel, Bozimowski, Hurt and other agents, representatives

   and employees of Defendant UDM described above represent official policy of Defendant

   UDM and are attributable to Defendant UDM.

65. As a direct and proximate result, Plaintiff has suffered irreparable harm, injury and damages,

   including but not limited to, monetary damages, loss of his graduate school education and

   Master of Science degree, time, resources, loss of career opportunities, earning capacity,

   mental, emotional distress, anxiety, mental anguish, humiliation, embarrassment; and loss of

   personal and professional reputation.



                                           Page 9 of 18
     2:16-cv-13752-RHC-APP           Doc # 1     Filed 10/21/16     Pg 10 of 18     Pg ID 10
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

                                   COUNT III:
                    MICHIGAN CONSTITUTION-FREEDOM OF SPEECH

66. Plaintiff incorporates by reference the allegations in Paragraphs 1 through 65 above.

67. Under the Michigan Constitution Art I § 5, “every person may freely speak, write, and

   publish his sentiments on all subjects, being responsible for the abuse of that right; and no

   law shall be passed to restrain or abridge the liberty of speech or of the press.”

68. Plaintiff has a right to be free from retaliation from exercising rights protected by the

   Michigan Constitution, including his right to speak freely with faculty regarding matters

   related to his experiences involving other clinical instructors in the clinical program.

69. Plaintiff’s effort to speak freely with Defendant Dosch and/or other faculty about matters

   related to his experiences amount to an exercise of rights protected by the Michigan

   Constitution, including Plaintiff’s right to free speech.

70. Defendants have retaliated against Plaintiff for exercising his constitutional rights by

   engaging in discriminatory treatment and by dismissing him from Defendant UDM’s GPNA.

71. Defendants Dosch, Teitel, Bozimowski and Hurt, and other agents representatives and

   employees of Defendant UDM acting under color of law in concert with one another, showed

   intentional, outrageous and reckless disregard for Plaintiff’s constitutional rights under the

   Michigan Constitution.

72. Defendants, Dosch, Teitel, Bozimowski and Hurt, and other agents representatives and

   employees of Defendant UDM acting in concert with one another, acted out of vindictiveness

   and ill will towards Plaintiff.

73. Defendants Dosch, Teitel, Bozimowski and Hurt, and other agents, representatives and

   employees of Defendant UDM acting in concert with one another, acted out of an intent to


                                           Page 10 of 18
     2:16-cv-13752-RHC-APP          Doc # 1     Filed 10/21/16     Pg 11 of 18     Pg ID 11
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

   punish Plaintiff for, and to deter him from exercising his right to freedom of speech under the

   Michigan Constitution.

74. The acts of Defendants Dosch, Teitel, Bozimowski, Hurt and other agents, representative and

   employees of Defendant UDM described above represent official policy of Defendant UDM

   and are attributable to Defendant UDM.

75. At all-time material to this, Plaintiff had a clearly established right to freedom of speech

   under the Michigan Constitution.

76. As a direct and proximate result, Plaintiff has suffered irreparable harm, injury and damages,

   including but not limited to, monetary damages, loss of his graduate school education and

   Master of Science degree, time, resources, loss of career opportunities, earning capacity,

   mental, emotional distress, anxiety, mental anguish, humiliation, embarrassment; and loss of

   personal and professional reputation.

                                    COUNT IV:
                        MICHIGAN CONSTITUTION- DUE PROCESS

77. Plaintiff incorporates by reference the allegations in Paragraphs 1 through 76 above.

78. The Michigan Constitution Art I § 17 states in pertinent part that “No person shall be

   ………… deprived of life, liberty or property, without due process of law. The right of all

   individuals, firms, corporations and voluntary associations to fair and just treatment in the

   course of legislative and executive investigations and hearings shall not be infringed.”

79. Plaintiff enjoyed a constitutionally protected fundamental right and interest, under the

   Michigan Constitution, in continuing his graduate education in nurse anesthesiology.

80. Plaintiff enjoyed a constitutionally protected property interest in continuing his graduate

   school education in nurse anesthesiology.


                                           Page 11 of 18
     2:16-cv-13752-RHC-APP           Doc # 1     Filed 10/21/16     Pg 12 of 18     Pg ID 12
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

81. Defendants’ dismissal of Plaintiff from Defendant UDM’s GPNA was arbitrary and

   capricious and motivated by bad faith.

82. Plaintiff was not afforded an unbiased, careful and deliberate review process either prior to

   his dismissal or during his appeal of his dismissal from Defendant UDM’s GPNA.

83. Defendants made false charges and accusations against Plaintiff which stigmatized him and

   severely damaged his opportunities for future employment.

84. In depriving Plaintiff of his constitutionally protected rights, including his fundamental right

   to and property interest in continuing his education in the GPNA and his liberty interest in

   the opportunity to pursue future employment, Defendants’ actions abridge his right to due

   process of law in violation of the Michigan Constitution.

85. Defendants Dosch, Teitel, Bozimowski and Hurt, and other agents, representatives and

   employees of Defendant UDM acting in concert with one another, by their conduct, showed

   intentional, outrageous and reckless disregard for Plaintiff’s constitutional rights under the

   Michigan Constitution.

86. Defendants Dosch, Teitel, Bozimowski and Hurt, and other agents representatives and

   employees of Defendant UDM acting in concert with one another, acted out of vindictiveness

   and ill will towards Plaintiff.

87. The acts of Defendants Dosch, Teitel, Bozimowski, Hurt and other agents, representatives

   and employees of Defendant UDM as described above represent official policy of Defendant

   UDM and are attributable to Defendant UDM.

88. As a direct and proximate result, Plaintiff has suffered irreparable harm, injury and damages,

   including but not limited to, monetary damages, loss of his graduate school education and

   Master of Science degree, time, resources, loss of career opportunities, earning capacity,

                                            Page 12 of 18
     2:16-cv-13752-RHC-APP           Doc # 1     Filed 10/21/16       Pg 13 of 18    Pg ID 13
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

   mental, emotional distress, anxiety, mental anguish, humiliation, embarrassment; and loss of

   personal and professional reputation.

                                   COUNT V:
                   MICHIGAN CONSTITUTION – EQUAL PROTECTION

89. Plaintiff incorporates by reference the allegations in Paragraphs 1 through 88 above.

90. Under the Michigan Constitution Art I § 2, no person shall be denied the equal protection of

   the laws; nor shall any person be denied the enjoyment of his civil or political rights or be

   discriminated against in the exercise thereof because of religion, race, color or national

   origin.

91. Plaintiff, a Michigan resident, has a right to fair and equal treatment under the law, as

   guaranteed by the Michigan Constitution.

92. Defendants intentionally singled out and treated Plaintiff less favorably than other similarly

   situated persons, without any rational basis for that treatment.

93. In so doing, Defendants deprived Plaintiff of fair and equal treatment under the law in

   violation of the Michigan Constitution.

94. Defendants Dosch, Teitel, Bozimowski and Hurt, and other agents representatives and

   employees of Defendant UDM acting in concert with one another, by their conduct, showed

   intentional, outrageous and reckless disregard for Plaintiff’s constitutional rights.

95. Defendants Dosch, Teitel, Bozimowski, Hurt and other agents, representatives and

   employees of Defendant UDM acting in concert with one another, acted out of vindictiveness

   and ill will towards Plaintiff.




                                           Page 13 of 18
       2:16-cv-13752-RHC-APP         Doc # 1     Filed 10/21/16    Pg 14 of 18    Pg ID 14
                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

96. The acts of Defendants Dosch, Teitel, Bozimowski, Hurt and other agents, representatives an

   employees of Defendant UDM described above represent official policy of Defendant UDM

   and are attributable to Defendant UDM.

97. As a direct and proximate result, Plaintiff has suffered irreparable harm, injury and damages,

   including but not limited to, monetary damages, loss of his graduate school education and

   Master of Science degree, time, resources, loss of career opportunities, earning capacity,

   mental, emotional distress, anxiety, mental anguish, humiliation, embarrassment; and loss of

   personal and professional reputation.

                               COUNT VI:
            ADVANTAGEOUS BUSINESS RELATIONSHIP OR EXPECTANCY

98. Plaintiff incorporates by reference the allegations in Paragraphs 1 through 97 above.

99. In common law there is a claim of intentional interference with an advantageous business

   relationship or expectancy of such.

100.    Elements of intentional interference include conduct that prevents the Plaintiff from

   acquiring the prospective relationship in addition to conduct that induces or otherwise causes

   a third person not to enter into a prospective relationship.

101.    Plaintiff had an advantageous business relationship or expectancy with Defendant UDM

   via a student and higher learning institution contractual agreement.

102.    Defendants Dosch, Teitel, Bozimowski and Hurt were aware of Plaintiff’s contract or

   advantageous business relationship or expectancy with Defendant UDM.

103.    Defendants Dosch, Teitel, Bozimowski, Hurt, for personal reasons and personal benefit,

   intentionally, improperly, and without justification interfered with Plaintiff’s advantageous

   business relationship or expectancy with Defendant UDM.


                                           Page 14 of 18
       2:16-cv-13752-RHC-APP          Doc # 1    Filed 10/21/16      Pg 15 of 18     Pg ID 15
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

104.    Defendants Dosch, Teitel, Bozimowski and Hurt acted with malice in interfering with

   Plaintiff’s business relationship or expectancy with Defendant UDM.

105.    As a direct and proximate result, Plaintiff has suffered irreparable harm, injury and

   damages, including but not limited to, monetary damages, loss of his graduate school

   education and Master of Science degree, time, resources, loss of career opportunities, earning

   capacity, mental, emotional distress, anxiety, mental anguish, humiliation, embarrassment;

   and loss of personal and professional reputation.


                                  COUNT VII:
                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

106.    Plaintiff incorporates by reference the allegations in Paragraphs 1 through 105 above.

107.    In common law there is the tort of intentional infliction of emotional distress.

108.    The tort of intentional infliction of emotional distress has four elements: (1) the defendant

   must act intentionally or recklessly; (2) the defendant's conduct must be extreme and

   outrageous; and (3) the conduct must be the cause (4) of severe emotional distress.

109.    Defendants’ conduct as described throughout this Complaint was intentional.

110.    Defendants’ conduct as described throughout this Complaint was extreme, outrageous,

   and of such character as not to be tolerated by a civilized society.

111.    Defendants’ conduct resulted in severe and serious emotional distress to Plaintiff.

112.    As a direct and proximate result, Plaintiff has suffered irreparable harm, injury and

   damages, including but not limited to, monetary damages, loss of his graduate school

   education and Master of Science degree, time, resources, loss of career opportunities, earning

   capacity, mental, emotional distress, anxiety, mental anguish, humiliation, embarrassment;

   and loss of personal and professional reputation.

                                            Page 15 of 18
       2:16-cv-13752-RHC-APP         Doc # 1    Filed 10/21/16     Pg 16 of 18     Pg ID 16
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

                                       COUNT VIII:
                                   UNJUST ENRICHMENT
113.    Plaintiff incorporates by reference the allegations in Paragraphs 1 through 112 above.

114.    Unjust enrichment is a general equitable principle of law that no person should be

   allowed to profit at another’s expense without making restitution for the reasonable value of

   any property, services, or other benefits that have been unfairly received and retained.

115.    Plaintiff alleges that Defendant UDM has and continues to be unjustly enriched while

   Plaintiff has been unfairly prevented from achieving his Master of Science Degree.

116.    As a result of his admission into and partial completion of Defendant UDM’s GPNA,

   Plaintiff incurred expenses, and borrowed student loans in a cumulative amount of more than

   $89,000.00

117.    Defendant UDM has been unjustly enriched by what portion of these expenses it already

   has collected since its and other Defendants’ unfair, arbitrary, and capricious deprivation of

   Plaintiff’s property interest in and fundamental right to complete his graduate education; and

   Defendant UDM will continue to be unjustly enriched as Plaintiff continues repayment to

   Defendant UDM for an education he was unfairly, purposely and maliciously disallowed

   from completing.


                                    PRAYER FOR RELIEF
        WHEREFORE, Plaintiff prays this Honorable court enter Judgment against Defendant

UDM and Defendants Pacini, Dosch, Teitel, Bozimowski and Hurt, in their individual and

official capacities providing:




                                           Page 16 of 18
     2:16-cv-13752-RHC-APP            Doc # 1     Filed 10/21/16    Pg 17 of 18   Pg ID 17
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

1. An order reinstating Plaintiff to the University of Detroit Mercy Graduate Program of Nurse

   Anesthesiology and placing him in a position he would have been in but for Defendants’

   wrongdoing;

2. For declaratory relief holding that Defendants violated Plaintiff’s rights;

3. For injunctive relief restraining the Defendants from any further acts of wrongdoing and/or

   retaliation;

4. For liquidated, compensatory, and punitive damages in an amount fair and just under the

   circumstances;

5. For interest, attorneys’ fees and costs; and

6. For such further relief as is just and equitable.


                                DEMAND FOR A JURY TRIAL
Plaintiff demands a jury trial on all claims alleged herein.


Dated: October 21, 2016                                Respectfully Submitted,
                                                        /s/ Shawndrica N. Simmons
                                                       SIMMONS LEGAL SERVICES, PLLC
                                                       77 Bagley St.
                                                       Pontiac MI 48341
                                                       (248) 732-7559
                                                       legalservices@shawndricasimmons.com
                                                       P70608




                                            Page 17 of 18
     2:16-cv-13752-RHC-APP          Doc # 1     Filed 10/21/16    Pg 18 of 18     Pg ID 18
                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

                                CERTIFICATE OF SERVICE

I hereby certify that on October 21, 2016, I electronically filed the foregoing paper with the
Clerk of the Court using the ECF system which will send notification of such filing to the
following:
_____________________________________________________________________________,
and I hereby certify that I have mailed by United States Postal Service the paper to the following
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                                          Page 18 of 18
